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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        : CRIMINAL ACTION
                                                :
                     v.                         : NO. 97-399-1
                                                :
RONALD HARRIS                                   :


                                      MEMORANDUM
KEARNEY, J.                                                                   December 31, 2020

       Judge Hutton found twenty-four-year-old Ronald Harris and an accomplice robbed two

delivery drivers at gunpoint in July and August 1996. Mr. Harris used a gun and his accomplice

went through the drivers’ pockets for the money. They earned a lengthy sentence. Judge Ludwig

sentenced Mr. Harris’s accomplice to sixty-six months in prison. Congress then required Judge

Hutton to sentence Mr. Harris to a mandatory consecutive twenty-year sentence after a

mandatory minimum five-year sentence because he used a gun first in the July 1996 robbery and

then in the August 1996 robbery. Judge Hutton sentenced Mr. Harris to 357 months in custody.

Congress changed this sentencing policy a little over two years ago by eliminating the mandatory

stacking of firearms sentences if the convicted defendant did not have an earlier gun conviction.

Mr. Harris has served over twenty-three years in prison. He rehabilitated through dozens of

classes, regular and trusted work, and without an incident in over thirteen years.

       Mr. Harris now moves for compassionate release citing his extensive rehabilitation, the

presence of COVID-19 in his facility, and current federal sentencing policy set by Congress in

December 2018. The fear of the pandemic is not grounds for release particularly given his

present care. But his extensive rehabilitation recognized by the Bureau of Prisons combined with

being overweight to the brink of clinical obesity creating health risks and the fundamental

disparity in his present sentence under our federal sentencing policy constitute extraordinary and
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compelling reasons for us to consider compassionate release. We scrutinized Mr. Harris’s

serious crimes and his drug-addicted adolescence leading to the armed robberies. No one

disputes he is a much different man today. Reducing his sentence to time served complies with

Congress’ sentencing policy. Mr. Harris does not present a risk to the community which cannot

be addressed by conditions on his supervised release in a suitable residence.          We order

Mr. Harris released consistent with United States’ sentencing policy.

I.      Background

        Philadelphian Ronald Harris, the middle child of three siblings, reported his parents

separated in his teenage years. 1 His father left their family home and did not support Mr. Harris

and his siblings. 2 Shortly after his parents separated, Mr. Harris began experiencing substance

abuse problems involving alcohol, marijuana, cocaine, valium, and PCP. 3 His drug habit

contributed to his decision to withdraw from high school and begin “robbing people” to support

the drug addiction. 4 Mr. Harris also has a history of depression in his family and began taking

antidepressants at sixteen years old. 5

        A.      The two summer 1996 armed robberies leading to his present sentence.

        Twenty-four-year-old Mr. Harris and an accomplice robbed two soda delivery truck

drivers at gunpoint in July and August 1996. 6 Mr. Harris used a gun and his accomplice stole the

money from the drivers’ pockets. They stole a total of $1,550 from the drivers. 7 The grand jury

indicted Mr. Harris for: conspiracy to commit robbery; two counts of robbery; and use of a

firearm and aiding and abetting the use of a firearm during a crime of violence. 8 Mr. Harris pled

guilty to all charges. 9

        Judge Hutton sentenced Mr. Harris to 357 months of incarceration and three years of

supervised release. 10 Judge Ludwig sentenced his accomplice (who did not use a gun) to sixty-



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six months. 11 Mr. Harris’s 357-month sentence consisted of fifty-seven months on the conspiracy

and robbery counts to run concurrently with each other, a mandatory minimum five-year

sentence on the first firearm charge to be served consecutively, and a mandatory minimum

twenty-year sentence on the second firearm charge to also be served consecutively. 12 At the time

of his sentencing, Mr. Harris had been earlier sentenced separately in state court for robbing

grocery store employees at gunpoint on two separate occasions in late 1996. 13 The

Commonwealth sentenced Mr. Harris to eight to sixteen years, to run concurrent for each of

these robberies. 14 Judge Hutton allowed Mr. Harris’s fifty-seven-month federal sentence to run

concurrent with a state sentence but noted the 300-month firearm sentences then required by

Congress would have to run consecutive to any state sentence. 15 Since Judge Hutton imposed

this sentence, Congress changed the law mandating Mr. Harris’s firearm sentences be served

consecutively to other sentences, or “stacked” on top of each other. This stacking requirement

now applies only if the defendant had a previous, final conviction for a firearm offense, rather

than in all cases with multiple firearm offenses brought in the same prosecution. 16 Since Mr.

Harris did not have any such convictions at the time of the instant robberies, he would be

sentenced to a 177-month sentence – fifteen-years less than his actual sentence – if sentenced

today.

         Mr. Harris is now almost forty-nine years old and has served over 258 months, or

72.27%, of his federal sentence. The Bureau of Prisons reports his anticipated release date is

July 26, 2027. Mr. Harris is currently serving his sentence at Federal Correctional Institution Fort

Dix.




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        B.       Mr. Harris’s conduct in prison.

        Mr. Harris made productive use of his over twenty-three years in prison. Mr. Harris

began his sentence at a high-security facility and the Bureau of Prisons found him capable of

transferring to FCI-Fort Dix, a low security prison. 17 The United States represents his last

disciplinary infraction occurred thirteen years ago. 18 Mr. Harris obtained his GED and completed

at least twenty-seven Bureau of Prisons educational programs at FCI-Fort Dix, including a 320-

hour associate certificate in electronic technology completed in a little over one year, a forty-six-

hour suicide companion workshop, a forty-hour parenting program, a twenty-four hour victim

impact course, a thirteen-hour freedom from drug education program, and a ten-hour ethics

course. 19 He has also completed various workshops in professionalism, time management,

teamwork, interviewing, and job searching. 20 He is currently enrolled in courses on financial

literacy and business mathematics. 21 Mr. Harris represents he also works full-time as a sewing

machine operator at UNICOR, a correctional program aiming to help inmates successfully

transition back to society, and resides in UNICOR housing. 22 The United States does not dispute

these efforts.

        C.       Mr. Harris’s release plan.

        Mr. Harris plans to live in Philadelphia with his sister if he is granted compassionate

release. 23 Our officer visited the residence and met with his sister. She welcomes her older

brother to her two-bedroom residence. Our officer found the property suitable for supervised

release. He swore to us of plans to contact a friend who assured him of available work for

Federal Express near the Philadelphia airport, which will provide him with health insurance and

other benefits. 24 The United States did not challenge these findings.




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         D.     COVID-19 affecting FCI-Fort Dix inmates and staff members.

         Mr. Harris describes at length dire conditions at FCI-Fort Dix caused by the spread of

“coronavirus disease 2019,” also known as COVID-19. As we understand today from our own

review, COVID-19 is a respiratory disease spreading mainly through droplets produced when an

infectious person, even one who is asymptomatic, talks, coughs, or sneezes. 25 The virus can also

be spread through the air. 26 The practice of social distancing – staying six feet away from others

– can help reduce the spread of the virus. 27

         COVID-19 poses a serious global public health risk. As of December 31, 2020, the

Centers for Disease Control and Prevention reported a total of 19,432,125 cases of COVID-19 in

the United States with 337,419 total deaths caused by the virus. 28 People of any age with the

following conditions are at increased risk of severe illness from COVID-19: cancer; chronic

kidney    disease;   COPD     (chronic    obstructive   pulmonary    disease);   down    syndrome;

immunocompromised state (weakened immune system) from solid organ transplant; obesity

(body mass index [BMI] of 30 kg/m2 or higher); heart conditions, such as heart failure, coronary

artery disease, or cardiomyopathies; sickle cell disease; pregnancy; a history of smoking; and

Type 2 diabetes mellitus. 29 People of any age with the following conditions might be at an

increased risk for severe illness from COVID-19: asthma (moderate-to-severe); cerebrovascular

disease (affects blood vessels and blood supply to the brain); cystic fibrosis; hypertension or high

blood pressure; immunocompromised state (weakened immune system) from blood or bone

marrow transplant, immune deficiencies, HIV, use of corticosteroids, or use of other immune

weakening medicines; neurologic conditions, such as dementia; liver disease; pulmonary fibrosis

(having damaged or scarred lung tissues); neurologic conditions (like dementia); liver disease; a




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body mass index greater than 25 kg/m2; pulmonary fibrosis; Thalassemia (a type of blood

disorder); and Type 1 diabetes mellitus. 30

        Mindful correctional facilities face unique challenges in controlling the transmission of

COVID-19, the Centers for Disease Control has issued guidance to prisons and correctional

facilities to help them prevent the spread of COVID-19. 31 Following this guidance, the Bureau of

Prisons adopted aggressive safety measures, assuring “maintaining safety and security of [its]

institutions is [its] highest priority.” 32 Despite these efforts, some correctional facilities, like FCI-

Fort Dix, have recently experienced outbreaks of the virus among inmates and staff members. As

of December 31, 2020, FCI-Fort Dix reports it has 453 confirmed active COVID-19 cases – 442

inmates and eleven staff members – in an inmate population of 2,595. 33 Since the outbreak

began, the Bureau of Prisons has confirmed 942 COVID-19 cases at FCI-Fort Dix having

administered tests to 2,134 inmates. 34

        E.      Mr. Harris’s health.

        Mr. Harris is overweight. 35 His medical records confirm he weighed 213.0 pounds and

had a body mass index of 28.9 as of February 21, 2020. 36 The facility recently placed him in

quarantine as one of the other men on his block tested positive for COVID-19. We have no

evidence of his testing positive for COVID-19 or of his continued quarantine status as of today.

        F.      Mr. Harris exhausted his internal remedies.

        Mr. Harris exhausted his remedies within the Bureau of Prisons. He submitted his request

for compassionate release to the Warden of FCI-Fort Dix on June 29, 2020. 37 He moved for his

release on August 27, 2020 over thirty days after he did not receive a response from the

Warden. 38




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II.    Analysis

       Mr. Harris moved pro se for compassionate release under the First Step Act, 18 U.S.C.

§ 3582(c)(1)(A), arguing the change in sentencing for section 924(c) firearms crimes after

passage of the First Step Act, his significant rehabilitation, and the general threat posed by

COVID-19 constitute “extraordinary and compelling reasons” warranting a reduction in his

sentence to time served. 39 The Federal Community Defender Office submitted a supplemental

brief in support of Mr. Harris’s release, principally arguing the unfairness of his sentence

following the amendment to section 924(c) as Mr. Harris’s sentence would be fifteen years if

sentenced today. 40

       The United States opposes Mr. Harris’s release. 41 It concedes many judges grant

compassionate release for petitioners with stacked sentences for 924(c) crimes but notes many

other judges declined to consider this change in sentencing law in compassionate release

motions. 42 It argues Mr. Harris “in effect, is seeking retroactive application of section 403 of the

First Step Act of 2018,” which Congress decidedly did not make retroactive. 43 The United States

notes this issue is currently pending before our Court of Appeals in United States v. Andrews,

No. 20-2768, and asks we stay Mr. Harris’s motion or his release pending its resolution. 44

       Congress allows us to reduce a sentence through compassionate release if we determine:

(1) the incarcerated movant meets administrative exhaustion requirements, (2) “extraordinary

and compelling reasons” warrant a reduction, (3) the reduction would be “consistent with any

applicable policy statements issued by the Sentencing Commission,” and (4) the applicable

sentencing factors under 18 U.S.C. §3553(a) warrant a reduction. 45 The applicable policy

statements issued by the Sentencing Commission urge us to consider whether Mr. Harris would

be a danger to the community if released. 46



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       Congress did not define “extraordinary and compelling reasons” except to provide

“rehabilitation. . . alone” does not suffice. 47 It left the definition to the Sentencing Commission.

Before Congress’ amendment of section 3582(c)(1)(A) in December 2018, the Sentencing

Commission issued commentary to its policy statement providing four categories of

“extraordinary and compelling reasons.” 48 The first three categories involve incarcerated persons

who (1) are suffering from terminal illnesses or other severe medical conditions; (2) are at least

sixty-five years old and have served a significant portion of their sentence; or (3) have family

circumstances where the primary caregiver of their minor children dies or becomes

incapacitated, or they are the only available caregiver of their spouse or registered partner. 49

       Mr. Harris’s present condition does not meet the first three categories. Mr. Harris argues

he presents extraordinary and compelling reasons for release under Note 1(D), or the fourth

“catchall” provision: “Other reasons – As determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other than, or in

combination with, the reasons described in” the previous three categories. 50

       Like many of our colleagues, we reviewed several compassionate release motions since

the First Step Act and even more after the COVID-19 outbreaks in our correctional facilities. Our

Court of Appeals has confirmed the section 924(c) amendment is not retroactive as a matter of

sentencing policy.    We do not understand Congress to have abrogated all section 924(c)

sentences which might be lower if sentenced today. We also disagree with the theory we can

simply quasi-legislate and grant compassionate release based only on finding Congress’

amended section 924(c) is an extraordinary and compelling reason for release. But as we

reasoned over five months ago in United States v. Adeyemi, we view the issue as whether courts

may independently determine “other” extraordinary and compelling reasons warranting



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compassionate release under the catchall provision and, consistent with a majority of judges,

concluded we do have this authority. 51 But we need to anchor this discretion in reasoning long

recognized by the Sentencing Commission and Bureau of Prisons. We cannot simply make it up.

We reasoned the Sentencing Commission has lacked a quorum of members to alter its outdated

policy statement – which limits various determinations to the Director of the Bureau of Prisons –

to reflect the First Step Act’s grant of concurrent authority over compassionate release motions

to courts. 52 We concluded the Sentencing Commission’s failure to update its guidance should

not, and does not, hamstring district courts’ ability to independently determine extraordinary and

compelling reasons for release under the catchall provision if based on an established series of

factors. 53

        Since Adeyemi, the Court of Appeals for the Second Circuit likewise concluded the

Sentencing Commission’s policy statement is “clearly outdated” and conflicts with the First Step

Act. 54 It held the policy statement’s language only limits courts’ discretion in evaluating motions

for compassionate release made by the Bureau of Prisons, not motions made by incarcerated

persons. 55 It held district courts are therefore “free[] . . . to consider the full slate of extraordinary

and compelling reasons that an imprisoned person might bring before them in motions for

compassionate release.” 56 The Courts of Appeals for the Fourth, Sixth, and Seventh Circuits

reached similar conclusions. 57

        As we find we may look to other reasons beyond the three defined by the Sentencing

Commission before the 2018 changes to sentencing policy in the First Step Act, we must now

determine whether Mr. Harris’s arguments for release – his exposure to COVID-19 at FCI-Fort

Dix as an almost-obese man, his lengthy sentence under a now-inapplicable sentencing policy,

and his significant rehabilitation – constitute extraordinary and compelling reasons for his release



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under the Sentencing Commission’s catchall provision. We conclude his generalized fear of

contracting COVID-19 does not warrant his release, but his lengthy sentence created by the

mandated stacking of sentences rejected by Congress in December 2018, when combined with

his body mass index and significant evidence of rehabilitation, his young age at the time of the

offenses, and the over twenty three years already served in prison, constitute extraordinary and

compelling circumstances warranting his release.

       A.      Mr. Harris’s generalized fear of contracting COVID-19 at FCI-Fort Dix does
               not constitute an extraordinary and compelling reason for his release.

       Mr. Harris argues in his pro se motion he is at a high risk of contracting COVID-19

“simply by his presence in [FCI-Fort Dix],” and describes at length the conditions in FCI Fort

Dix and the Bureau of Prisons’ response to the virus. 58 During our hearing, Mr. Harris swore a

man on his unit tested positive for COVID-19, Mr. Harris felt symptoms of COVID-19, the

facility tested him and his test returned negative. The Federal Defender argued Mr. Harris’s

body mass index of 28.9, falling at the high end of the “overweight” category and at the cusp of

obesity, increases his risk of severe illness due to COVID-19. Mr. Harris’s counsel argues this

risk should not be minimized just because Mr. Harris falls a little short of being classified as

obese. 59 The United States did not dispute the unfortunate arbitrary nature of these nuanced

distinctions between overweight and obese individuals but argued Mr. Harris’s body mass index

does not definitively place him at a higher risk of severe illness from the virus. Mr. Harris’s

increased body mass index alone does not constitute an extraordinary and compelling reason for

his release but it does warrant consideration as one factor in this analysis.

       While we do not underestimate the seriousness of the global pandemic, especially within

the prison population, a generalized fear of contracting the virus is insufficient to warrant a

reduction in sentence. Our Court of Appeals instructed “the mere existence of COVID-19 in

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society and the possibility that it may spread to a particular prison alone cannot independently

justify compassionate release.” 60 Petitioners seeking compassionate release due to COVID-19

therefore “must at least show: (1) a sufficiently serious medical condition, or advanced age,

placing the prisoner at a uniquely high risk of grave illness or death if infected by COVID-19;

and (2) an actual, non-speculative risk of exposure to COVID-19 in the facility where the

prisoner is held.” 61 Mr. Harris demonstrates an actual non-speculative risk based on a positive

test in his unit and his symptoms. But his test is confirmed negative and we have no evidence of

ongoing illness.

       Judges in this District have denied compassionate release to obese individuals who do not

exhibit any other serious risk factors or complications. In United States v. Williams, for example,

Judge Pratter held a petitioner with mild asthma and a body mass index of 31.5 did not present

extraordinary and compelling reasons for his release during the pandemic. 62 While Judge Pratter

recognized the Centers for Disease Control identified individuals with a body mass index over 30

as being at an increased risk of severe illness from the virus, she found the prison seemed to

adequately manage petitioner’s medical conditions and explained “the fact that [petitioner]

suffers from obesity during the age of the COVID-19 pandemic does not necessarily mean, on its

own, that extraordinary and compelling reasons justify the reduction of his sentence.” 63 Earlier

this month, Judge Pappert denied compassionate release to an obese petitioner with a thyroid

tumor and resolved asthma because, as in Williams, petitioner failed to show any other risk

factors or complications arising from his obesity while incarcerated. 64

       We similarly find Mr. Harris’s increased body mass index is insufficient on its own to

warrant his early release. His medical records show only he is overweight. 65 The Centers for

Disease Control tell us overweight individuals like Mr. Harris might be an increased risk of



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illness due to COVID-19. His medical records do not reveal another medical condition

increasing his risk of severe illness from the virus. Mr. Harris falls short of even the petitioners

denied compassionate release by Judges Pratter and Pappert. The mere potential for increased

risk is not enough, standing alone, to warrant Mr. Harris’s compassionate release. Courts decline

to find COVID-19 an extraordinary and compelling reason for release without this showing of

increased susceptibility to the virus. 66 We must do the same here.

        B.      Mr. Harris’s lengthy sentence due to stacking of section 924(c) firearm
                charges is a relevant consideration and, when combined with evidence of
                rehabilitation, his health risks, and the significant time incarcerated,
                constitutes an extraordinary and compelling reason warranting his release.

        Mr. Harris further argues his stacked sentence under the abrogated version of section

924(c), when combined with other factors, constitute an extraordinary and compelling reason for

his early release. The United States opposes, arguing: Congress did not make the change to

section 924(c) retroactive, barring us from considering the change by acting as a quasi-legislative

body; we found over five months ago in Adeyemi the stacking of sentences under section 924(c)

does not, by itself, constitute an extraordinary and compelling reason for release; and, the issue

of the effect of stacked sentences on our evaluation of an extraordinary and compelling reasons

is currently pending in our Court of Appeals, and we (along with Mr. Harris in jail) should wait

until it is resolved.

        We first consider the impact the section 924(c) amendments would have had on

Mr. Harris’s sentence. If we sentenced Mr. Harris today, he would not face the mandatory

consecutive sentence for a second section 924(c) firearm charge in the same case. But at the time

of Mr. Harris’s sentencing, Congress mandated a five-year sentence for the first possession of a

firearm in furtherance of a crime of violence under 924(c) and a mandatory minimum

consecutive sentence of twenty years for the second 924(c) crime, even if the second crime

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occurred in the same case. Because Mr. Harris pled guilty to two robberies on March 6, 1998 –

despite the robberies occurring over one month apart – the then-existing law required Judge

Hutton impose the five-year sentence for the first possession of a firearm in furtherance of a

crime of violence and a mandatory consecutive twenty-year sentence for the second possession

of a firearm in furtherance of a crime of violence.

       In December 2018, Congress amended section 924(c) to ensure the twenty-year

consecutive term for a successive section 924(c) offense does not apply unless the defendant had

a previous, final section 924(c) conviction at the time of the offense. 67 So instead of the 357-

month sentence Mr. Harris currently serves, he would be sentenced to a minimum 177-month

sentence today. Mr. Harris argues this fifteen-year disparity between the sentence he is currently

serving and the sentence he would face if sentenced today constitutes an extraordinary and

compelling reason for his release.

       Despite these sentence disparities between those sentenced before and after the First Step

Act, Congress expressly declined to make this change to section 924(c) retroactive as part of a

sentencing analysis. 68 We have a different question concerning the effect of the section 924(c)

amendment. District courts have split regarding the impact of Congress’ decision against

retroactivity on compassionate release motions, with some judges concluding we may not

consider arguments involving the amendment to section 924(c) at all, 69 while others found the

opposite – a sentence disparity created by the amendment to section 924(c) may constitute an

extraordinary and compelling reason for release. 70 Many courts have joined us somewhere in the

middle, finding this change in sentencing law is a relevant consideration in compassionate

release motions, but cannot constitute an extraordinary and compelling reason for release on its

own.



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       As the United States notes, we analyzed the impact of Congress’ decision not to make the

amendment to section 924(c) retroactive almost six months ago in United States v. Adeyemi. In

Adeyemi, the petitioner argued, as Mr. Harris does here, a sentencing disparity created by the

amendment to section 924(c), combined with other factors, constituted an extraordinary and

compelling reason for release under the catchall provision. 71 After careful review of the First

Step Act and persuasive case law existing at the time, we found Congress’ directive to not make

the amendment to section 924(c) retroactive did not preclude courts’ ability to consider the

inequities in stacking as an argument for compassionate release because while “[a] retroactive

amendment to section 924(c) would have required the release of all defendants similarly situated

to [petitioner],” compassionate release motions only allow for sentence reductions “on an

individualized basis, only in the most extraordinary circumstances and only if the defendant

meets specific criteria such as the 3553(a) factors and would not endanger the community.” 72 We

reasoned this conclusion aligned with the First Step Act’s intent in expanding courts’

involvement in compassionate release motions. 73       We cannot presume Congress precluded

judges from considering stacking inequities in individual cases. Congress’ decision to not

expressly define its amendments as retroactive can also be understood as avoiding a blanket

release for all stacking sentences.

       We also concluded, however, the amendment to section 924(c) could not singularly

constitute an extraordinary and compelling reason warranting compassionate release because we

“cannot play the role of legislator.” 74 In granting compassionate release in Adeyemi, we found

petitioner presented other factors supporting his release, which, when combined, constituted

extraordinary and compelling reasons. 75 We found it significant, for example, petitioner spent his

almost fourteen years in prison productively by working for UNICOR, taking numerous



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business, self-improvement, art, and health courses, and avoiding any serious disciplinary

infractions. 76 We also found the fact petitioner served a significant portion of his sentence and

committed the offenses at a young age weighed in favor of finding extraordinary and compelling

reasons for his release. 77

        As the United States admits, since Adeyemi, an increasing number of judges – including

in this District – have similarly found the stacking of sentences under section 924(c) to be a

relevant consideration in analyzing compassionate release motions, though not sufficient on its

own to warrant release. These judges have found extraordinary and compelling reasons for a

sentence reduction based on a combination of rehabilitation and the sentencing disparity created

by the amendment to section 924(c). In United States v. Pollard, for example, Judge Beetlestone

found extraordinary and compelling reasons warranted petitioner’s release under the catchall

provision where petitioner’s primary argument focused on the substantially shorter mandatory

minimum sentence he would have faced if sentenced today because of the change to section

924(c). 78 Petitioner, who faced a mandatory minimum sentence of 384 months prior to the First

Step Act, argued he would only be sentenced to a 168-month sentence today. 79 Judge

Beetlestone concluded, as we did in Adeyemi, she could consider this sentencing disparity in her

analysis because, although Congress chose not to grant all defendants convicted under the

defunct version of section 924(c) reductions in their sentences, “[i]t is reasonable for Congress to

have concluded. . . some may be entitled to such [relief], on a case-by-case basis – through the

expanded compassionate release provision provided for in the [First Step Act].” 80 She explained

the Senate Report accompanying the Sentencing Reform Act of 1984 – the Act initially

authorizing the Bureau of Prisons to evaluate compassionate release motions – furthered her

conclusion:



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        In that report, Congress indicated that relief may be appropriate, inter alia, in
        “cases in which other extraordinary and compelling circumstances justify a
        reduction of an unusually long sentence, and some cases in which the sentencing
        guidelines for the offense of which the defendant was convicted have been later
        amended to provide a shorter term of imprisonment.” Thus, Congress explicitly
        contemplated that changes to the length of a sentence can be an appropriate
        consideration in deciding whether to grant compassionate release. 81

In addition to the stacking argument, Judge Beetlestone found it significant petitioner pointed to

other factors in support of his release, including evidence of significant rehabilitation through his

various jobs, participation in recreational activities and religious services, and overall

productivity while incarcerated. 82 The petitioner also had concrete plans for employment upon

release. 83 She found all of these factors – the significantly shorter sentence he would face if

sentenced today, his rehabilitation, his plans for gainful employment upon release, and his lack

of a prior criminal history – when combined constituted extraordinary and compelling reasons

for his early release. 84

        Judge Pappert reduced a 213-year sentence based on the significant sentencing disparity

created by the section 924(c) amendments combined with compelling evidence of rehabilitation

– including completion of over 100 educational programs, creation and facilitation of prison

reentry programs, and receipt of certification as a life coach – while incarcerated. 85 Judge

Pappert, like Judge Beetlestone, concluded consideration of petitioner’s extraordinarily lengthy

sentence, resulting from nine firearm convictions stacked on one another, may be a factor in

granting compassionate release and did not amount to retroactive application of the section

924(c) amendments because, in his view, Congress did not preclude the ability of courts to

relieve some prisoners of these sentences through compassionate release. 86

        In United States v. McCoy, the United States Court of Appeals for the Fourth Circuit –

the first appellate court to address compassionate release focused on the section 924(c) stacking



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issue – recently added to this weight of authority by holding district courts appropriately

considered “the sheer and unusual length of [petitioners’] sentences” and the “gross disparity

between those sentences and the sentences Congress now believes to be an appropriate penalty

for the [petitioners’] conduct” in granting compassionate release in four cases. 87 In affirming the

district courts’ decisions as to four petitioners, the court of appeals emphasized the

individualized nature of the inquiries made by the trial judges, which “relied not only on the

[petitioners’] § 924(c) sentences but on full consideration of the defendants’ individual

circumstances,” including petitioners’ young age at the time of the offenses, the substantial

sentences the petitioners already served, and evidence of rehabilitation. 88 The Court of Appeals

for the Fourth Circuit further rejected the United States’ argument (repeated today) consideration

of sentence disparities created by the section 924(c) amendment in compassionate release

amounted to its retroactive application, explaining “there is a significant difference between

automatic vacatur and resentencing of an entire class of sentences – with its avalanche of

applications and inevitable resentencings – and allowing for the provision of individual relief in

the most grievous cases.” 89

       Other district courts have similarly granted reductions in sentences where the petitioner

argued their stacked sentences – combined with some other factor(s) – constituted extraordinary

and compelling reasons for their release. In United States v. Jones, for example, Judge Davila

joined “the growing majority of courts” in reducing a sentence in part because of the fifteen-year

disparity in petitioner’s sentence created by the change to section 924(c). 90 He rejected the

argument that Congress’ decision against retroactivity precluded his ability to consider the

sentencing disparity created by the amendment, finding instead the amendment “reflects a

legislative rejection of stacking and a legislative declaration of what level of punishment is



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adequate” for section 924(c) firearm offenses. 91 He further found it significant that “the very

purpose of § 3582(c)(1) is to permit sentence reductions in situations where no specific statute

affords a defendant relief but ‘extraordinary and compelling reasons’ nevertheless call for such a

reduction.” 92 Judge Davila found this change in sentencing law, when combined with petitioner’s

rehabilitative efforts and other factors, warranted petitioner’s early release. 93

        We are aware of Judge Robreno’s analysis in Andrews and the present appeal of his

holding denying a compassionate release motion based on, among other factors, the amendment

to section 924(c). 94 We agree with Judge Robreno’s conclusion district courts are not, when

evaluating compassionate release motions brought by defendants, bound by the Sentencing

Commission’s policy statement enumerating specific extraordinary and compelling reasons

warranting release. 95 This sound reading of federal sentencing law has since been substantiated

by four Courts of Appeals. We do not agree, however, with the conclusion in Andrews the length

of petitioners’ sentences cannot be considered in compassionate release motions because to do so

would amount to a usurpation of Congress’ power to set penalties. 96 As Judge Beetlestone

reasons in Pollard, Congress expressly indicated compassionate release may be appropriate

based on the length of a sentence. 97 The Senate Report accompanying the Sentencing Reform

Act of 1984 stated a reduction in sentence may be appropriate in cases involving an “unusually

long sentence, and some cases in which the sentencing guidelines for the offense of which the

defendant was convicted have been later amended to provide a shorter term of imprisonment.”98

Congress, over twenty-five years ago, contemplated length of sentence as a factor in some

compassionate release cases. 99

        We also disagree with conclusion in Andrews considering the amendment to section

924(c) in this individualized way usurps Congress’ ability to determine the temporal scope of its



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statutes. 100 We recognize Congress chose not to make this amendment retroactive; if it had, all

individuals sentenced under the previous version of section 924(c) automatically would be

entitled to sentence reductions. As the Court of Appeals for the Fourth Circuit found in McCoy, it

does not necessarily follow Congress meant to foreclose the possibility of its consideration at all

in any context, even the individualized analysis involved in compassionate release. To find it

categorically forecloses such considerations would undermine our mandate to impose sentences

“sufficient, but not greater than necessary” under the unique circumstances of each case. 101 It

also conflicts with the First Step Act’s broader purpose in allowing district courts to conduct an

“individualized assessment” of a petitioner’s case and approve a sentence reduction if warranted

under the circumstances. 102

       We agree with the analyses of the Courts of Appeals in Brooker, Jones, Gunn, and

McCoy allowing us to consider “other” reasons in evaluating compassionate release motions

brought by petitioners. When we do so, we agree with the Courts of Appeals, as well as the

sound reasoning from Judges Beetlestone, Pappert, and Davila and find they lend further support

to our conclusion in Adeyemi that while the First Step Act’s change to section 924(c) does not

constitute an extraordinary and compelling reason on its own, Congress did not intend to

categorically preclude courts from considering sentencing disparities created by the amendment

to section 924(c) altogether. We find a case-by-case analysis mandated by Congress’ grant of

authority given to judges in the First Step Act strikes the correct balance of interpreting the First

Step Act consistent with its legislative intent in expanding the use of – and the courts’

involvement in – compassionate release motions, while remaining mindful of significant

separation of powers concerns. 103 But we also must anchor our analysis to established factors to

avoid arbitrary disposition of these life-changing motions.



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       C.      Mr. Harris’s circumstances fulfill the Bureau of Prisons’ Program Statement
               enumerating factors determining “other” extraordinary and compelling
               reasons.

       Having concluded the fifteen-year sentence disparity created by the amendment to

section 924(c) is a relevant consideration, but not sufficient on its own to warrant a sentence

reduction, we next consider whether Mr. Harris demonstrated any “other” factors for release

under the catchall provision – outside of health, age, or family reasons – “as determined by the

Director of the Bureau of Prisons.” 104 As we found above, we are no longer bound to the Bureau

of Prisons’ determinations following passage of the First Step Act.          But consistent with

sentencing policy as of today, we apply the established factors the Bureau of Prisons employs

when evaluating requests for compassionate release under the catchall provision.

       We look to the Bureau of Prisons’ Program Statement 5050.50 to find factors it considers

in evaluating compassionate release requests, as we did in Adeyemi. 105 The program statement –

issued after the passage of the First Step Act – provides guidance in evaluating compassionate

release requests involving medical issues, elderly inmates, and family circumstances. 106 It also

lists thirteen non-exclusive factors to consider for “all [compassionate release] requests.”107

Although these factors do not specifically apply to compassionate release requests made under

the catchall provision, we agree with the Court of Appeals for the Tenth Circuit they can be used

to evaluate such requests. 108 This conclusion is furthered by the structure of the program

statement – these thirteen factors are listed immediately following guidance as to the first three

extraordinary and compelling reasons defined by the Sentencing Commission.

       The thirteen factors enumerated by the Bureau of Prisons are: nature and circumstances

of the inmate’s offense, criminal history, comments from victims, unresolved detainers,

supervised release violations, institutional adjustment, disciplinary infractions, personal history



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derived from the presentence investigation report, length of sentence and amount of time served,

inmate’s current age, inmate’s age at the time of the offense and sentencing, inmate’s release

plans, and whether release would minimize the severity of the offense. 109

       During oral argument, Mr. Harris’s counsel argued consideration of each of factors

enumerated in the program statement weighs in favor of his early release. The United States

argued instead we cannot consider these factors at all. It argued the program statement applies

only after the Director of the Bureau of Prisons made a threshold finding extraordinary and

compelling reasons exist based on the Sentencing Commission’s three enumerated reasons

relating to medical issues, age, or family circumstances.

       We disagree with the United States’ interpretation of the program statement. The

program statement instructs the Director of the Bureau of Prisons consider the thirteen factors

listed above “to assess whether the [reduction in sentence] request presents particularly

extraordinary and compelling circumstances.” 110 A plain reading of this text contradicts the

United States’ argument these factors may only be considered upon a threshold finding of

extraordinary and compelling reasons. We conclude, as we did in Adeyemi, we may use these

factors promulgated by the Bureau of Prisons itself to determine whether Mr. Harris presents

“other” factors warranting his release under the catchall provision.

       After careful consideration of each of these factors, and consistent with the Court of

Appeals for the Fourth Circuit, Judges Beetlestone and Pappert, and a number of other district

court judges, we find the drastically different sentence he would have received for his crimes if

sentenced today, when combined with evidence he is a significantly changed individual, his

relatively young age at the time of the offenses, and the substantial sentence he has already

served, constitutes an extraordinary and compelling reason for his early release. 111



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       The nature of Mr. Harris’s armed robberies is undoubtedly serious. Mr. Harris brandished

a gun during each robbery, although he never fired one and claims he never would have shot

anyone. At the time of his sentencing, Mr. Harris also had convictions for a drug offense and two

other armed robberies. While we do not diminish the seriousness of these crimes, our

consideration of Mr. Harris’s history and characteristics “is not frozen in time.” 112 We find it

significant Mr. Harris’s crimes admittedly stemmed from a drug addiction he had over twenty

years ago.

       The Bureau of Prisons Program Statement next instructs we consider comments from

victims. The probation office informed the two soda delivery truck drivers Mr. Harris pled guilty

to the robberies, but neither victim responded under the provisions of the Mandatory Victim

Restitution Act. We cannot fairly weigh this factor when the victims do not offer comments.

       We are also instructed to consider any unresolved detainers. The presentence

investigation report displays no detainers on Mr. Harris.

       We next consider any supervised release violations. Mr. Harris committed the robberies

while on a three-year term of reporting probation for a drug offense. This factor weighs against

Mr. Harris’s release.

       Under the Bureau of Prisons’s next enumerated factor, we consider institutional

adjustment. Mr. Harris has demonstrated significant rehabilitation in his nearly twenty-four years

in prison. He represents this changed behavior has resulted in the Bureau of Prisons moving

from him from a high security prison to FCI-Fort Dix, a low security facility. He maintains full-

time employment at FCI-Dix as a sewing machine operator for UNICOR and resides in

UNICOR housing. Mr. Harris’s educational transcript shows he has completed numerous

educational programs over an almost ten-year-period in valuable fields such as parenting (forty



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hours), victim impact (twenty-four hours), freedom from drugs (thirteen hours), and ethics (ten

hours). His transcript also evidences his ability and desire to gain skills for a productive future.

Mr. Harris, for example, obtained an associate certification in electronics by completing 320

hours of coursework in a little over one year. He completed various workshops in

professionalism, time management, teamwork, interviewing, and job searching. He tells us, in

addition to these courses, he is currently enrolled in courses involving financial literacy and

business mathematics. This substantial evidence weighs in favor of his release and convinces us

Mr. Harris is no longer the twenty-four-year-old who committed robberies primarily for drug

money; he is now an almost fifty-year-old man who – after spending almost half of his life in

jail– has worked towards a law-abiding future. We also consider Mr. Harris’s concerns about his

health due to the presence of COVID-19 at FCI Fort Dix. Mr. Harris is overweight with a body

mass index of 28.9. If Mr. Harris’s body mass index increased to 30.0, he would be considered

obese. The Centers for Disease Control tells us overweight individuals might be at an increased

risk of severe illness from COVID-19, while obese individuals definitively face an increased risk

of severe illness. Despite these categorizations, the Centers for Disease Control also instructs

“[a]s [body mass index] increases, the risk of death from COVID-19 increases.” 113 Continued

imprisonment could make it more difficult for Mr. Harris to maintain a healthy weight and put

Mr. Harris at a higher risk of severe illness from COVID-19. 114

       The next factor to consider is disciplinary infractions. During Mr. Harris’s over twenty-

three years in prison, he had only a few disciplinary infractions. As the United States concedes,

Mr. Harris has maintained a clean record for thirteen years. These thirteen years of good conduct

further evidence his changed behavior and weighs in favor of his release.




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        We next consider Mr. Harris’s personal history. At a young age and shortly after his

parents separated, Mr. Harris began experiencing substance abuse issues. He admittedly began

“robbing people” to support his drug habit. In the over twenty years since these robberies, Mr.

Harris has worked to improve himself and has taken various educational courses and workshops,

including in subjects like drug education.

        Consideration of the length of Mr. Harris’s sentence and the amount of time served

weighs heavily in favor of his early release. Judge Hutton sentenced Mr. Harris to 357 months’

imprisonment; much of this lengthy sentence resulted from stacked mandatory minimum

sentences imposed on his firearm convictions. Mr. Harris has served over 258 months – over

70% – of this sentence. As in Adeyemi, Mr. Harris “serves a sentence which would never be

imposed under current law.” 115 The parties agree Mr. Harris would have received a 177-month

sentence under current law. Mr. Harris has already served many more months, even years, than

he would need to if sentenced today, weighing in favor of his release.

        We consider Mr. Harris’s young age at the time of the offenses and his current age and

find they also weigh in favor of his release. Mr. Harris committed the robberies under the age of

twenty-five; this young age “indicates less culpability and enhances the possibility of

rehabilitation.” 116 Mr. Harris provided us with significant evidence of rehabilitation during the

latter half of his life. He is now almost fifty years old and is statistically much less likely to

recidivate. 117

        We next consider Mr. Harris’s release plans. We told counsel during oral argument of

our concern with two earlier plans involving living at either a friend’s house and then with an

aunt and uncle. Our officers visited the one location and found it uninhabitable for Mr. Harris.

Mr. Harris then arranged to live with his sister in Philadelphia. Our officers investigated and



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found the residence suitable for initial quarantine, followed by home confinement with

monitoring, and then two years of completing his supervised release. Mr. Harris’s reconsidered

plan weighs in favor of release.

       We lastly must consider whether Mr. Harris’s release would minimize the severity of the

offense. His release would not minimize the severity of the offense because Congress, in passing

the First Step Act and amending sentencing for section 924(c) offenses, renounced the harshness

of lengthy stacked sentences like Mr. Harris’s. Mr. Harris could have been sentenced to fifteen

years less had he been sentenced after the First Step Act, so “[n]ot only would [Mr. Harris’s]

release not minimize the severity of the offense, it would also comply with Congressional

directives on the appropriateness of sentences under section 924(c).” 118

       After careful consideration of each factor enumerated by the Bureau of Prisons’s program

statement, we conclude Mr. Harris’s substantial evidence of rehabilitation, his young age at the

time of the offenses, and the substantial portion of his sentence he has already served, when

combined with the fifteen-year shorter sentence he would have received if sentenced after the

First Step Act, constitute an extraordinary and compelling reason for his release.

       D.      Mr. Harris’s time-served sentence is consistent with Congress’ sentencing
               factors.

       Our analysis does not end with finding an extraordinary and compelling reason for

Mr. Harris’s release. We must weigh this reason against the section 3553(a) factors set by

Congress to determine if a sentence reduction is warranted and the extent of a reduction. The

applicable sentencing factors we must consider include (1) the nature and circumstances of the

offense and the history and characteristics of the defendant; (2) the need for the sentence

imposed to reflect the seriousness of the offense, promote respect for the law, provide just

punishment for the offense, afford adequate deterrence, protect the public from further crimes,

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and provide the defendant with needed educational training or other correctional treatment; and

(3) the need to avoid unwanted sentence disparities among defendants with similar records who

have been found guilty of similar conduct. 119 “[E]vidence of postsentencing rehabilitation may

be highly relevant” to our consideration of several of these factors. 120 After careful consideration

of these factors, we find they weigh in favor of Mr. Harris’s time-served sentence at this stage.

        Courts have found consideration of section 3553(a) factors supported sentence reductions

under circumstances similar to Mr. Harris’s facts. In United States v. Redrick, for example, Judge

Rufe found, despite petitioner’s serious crimes and criminal history, petitioner’s history and

characteristics “greatly favor[ed]” a sentence reduction because of his rehabilitative efforts,

including completing dozens of educational and development courses, obtaining certificates in

various areas, and participating in a program to assist inmates considering self-harm and

suicide. 121 In United States v. Lott, Judge Hayes found consideration of the sentencing factors

weighed in favor of petitioner’s early release because, although petitioner’s offenses involved

violent conduct, they involved decisions by a twenty-two year old person over twenty-eight years

ago. 122 Since the offenses, petitioner engaged in vocational training as an electrician, as well as

general education and improvement programming, and had not had any disciplinary issues.123

Judge Perry in United States v. Littrell similarly found the section 3553(a) factors weighed in

favor of a petitioner’s release where petitioner committed drug-related firearm offenses many

years ago due to a drug addiction. 124 Petitioner had since demonstrated good behavior in his over

fifteen years in prison, moved to a low security classification, and completed his GED and other

courses. 125

        We are presented with similar evidence of rehabilitation here. Mr. Harris, who has now

spent almost half of his life in prison, demonstrated significant progress towards becoming a



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productive, law-abiding citizen upon release. He obtained his GED and completed numerous

educational courses, including a thirteen-hour course in drug education, demonstrating

Mr. Harris’s interest, ability, and willingness to pursue a drug-free and crime-free future. He

maintained years of employment in UNICOR during his incarceration and plans on finding

gainful employment upon release. He further dedicated over 300 hours to obtaining a

certification in electronic technology, which could aid Mr. Harris in finding future employment.

Along with his productive and positive behavior in prison, he is now almost fifty years old and

statistically much less likely to recidivate. 126 We conclude the second-half of Mr. Harris’s life

provides “the most up-to-date picture” of his character and weighs in favor of his release. 127

       We next consider the need for the sentence imposed, including the need “to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense,” and find the twenty-three years Mr. Harris has spent incarcerated satisfies these needs.

We find it significant the nearly thirty-year-sentence imposed on Mr. Harris “did not result from

any individualized consideration of his background and characteristics” but instead resulted from

a now-defunct statutory mandate of stacked mandatory minimum sentences, “which did not

permit the court to consider personal circumstances in its sentencing analysis.” 128 Mr. Harris

already spent more time incarcerated than he would be required to if sentenced today, and has

made many positive changes during this time. We find, consistent with numerous judges, twenty-

three years is a substantial punishment for Mr. Harris’s serious crimes and readily fulfills the

goals of deterrence, respect for the law, and safety to the community. 129

       We further find consideration of unwarranted sentence disparities weigh in favor of

Mr. Harris’s release on a time served sentence. As we explained above, Mr. Harris’s lengthy

sentence is the result of the outdated and “draconian practice” of stacking sentences within the



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same prosecution, and indeed, he would have already been released if sentenced today. 130 In

Pollard, Judge Beetlestone found this factor weighed in favor of reducing a lengthy sentence

caused by stacking 924(c) convictions because petitioner “is now serving a sentence longer than

even the mandatory minimum that others who committed the same crimes as he did would be

facing if sentenced today” and further found reducing the sentence “would not create any

unwarranted disparities—and indeed, would help avoid them.” 131

       E.     Releasing Mr. Harris under specific supervised release terms to a suitable
              residence with his sister does not pose a danger to the safety of any other
              person or the community.

       We may reduce a sentence only if “[t]he defendant is not a danger to the safety of any

other person or to the community, as provided in 18 U.S.C. § 3142(g).” 132 Congress in section

3142(g) instructs us to consider factors such as the nature and circumstances of Mr. Harris’s

crimes; Mr. Harris’s character, including his family ties, employment, and criminal history; and

any danger posed to the community by his release. 133 Mr. Harris argues he will not pose a danger

to the community if released and the United States does not argue otherwise. We agree

Mr. Harris no longer poses a danger to the community or to others.

       In United States v. Nunez, Chief Judge Sánchez found a petitioner with a criminal history

who demonstrated significant rehabilitative efforts, including obtaining his GED, attempting to

participate in a drug abuse program, and avoiding disciplinary issues, “is not a danger to the

community as he once might have been.” 134 He further found the petitioner’s strict terms of

supervised release would “sufficiently manage[]” any risk of petitioner engaging in further

criminal conduct. 135 Judge Seeborg similarly found a petitioner with a significant criminal

history would not pose a danger to community upon his release because petitioner committed the

offenses many years ago at a young age, exhibited good behavior during his lengthy



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incarceration, and no longer had a significant risk of recidivism due to his older age. 136 Judge

Seeborg further found any risk petitioner may still pose would be mitigated by years of

supervised release. 137

        Chief Judge Sánchez’s and Judge Seeborg’s analyses are instructive. Mr. Harris’s crimes,

although undoubtedly serious, occurred in his early twenties largely motivated by his drug

addiction. All of the adduced evidence confirms Mr. Harris, now almost fifty years old, is a

much different man. He spent a significant amount of his time while incarcerated working as a

sewing machine operator, completing valuable courses like drug education and parenting, and

generally becoming a more productive member of society. This compelling evidence of

rehabilitation spanning over twenty years, combined with his relatively low likelihood of

recidivating, demonstrates he will not present a danger to the community upon release.

        This finding is furthered by the strict conditions we will impose on Mr. Harris’s three-

year-term of supervised release. We will not release Mr. Harris while he is in quarantine. Upon

leaving quarantine and immediate release to his sister’s home in Philadelphia, we will prohibit

Mr. Harris from possessing controlled substances, guns, or ammunition. He will periodically

report to his probation officer for random drug tests. He will remain in his residence (or another

residence approved by the Pretrial Services Officer) for the first twelve months except for work,

medical, religious, or formal education.       He will need to secure and maintain regular

employment. Violating these conditions may result in Mr. Harris returning to federal prison.

These restrictions will further reduce any risk Mr. Harris may pose to others or the community

upon his release.




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       F.      We decline to stay Mr. Harris’s release pending our Court of Appeals’
               resolution of Andrews.

       The United States requests we stay release pending our Court of Appeals’s resolution of

Andrews. We decline to do so.

       We disagree Mr. Harris’s eligibility for relief turns on our Court of Appeals’ resolution in

the pending Andrews appeal. Since the court’s decision in Andrews, four Courts of Appeals have

held district courts have the authority to consider the “full slate” of reasons a petitioner presents

for compassionate release under the catchall provision. As our reasons in Ayedemi previewed,

we agree with the reasoning of the four Courts of Appeals none of whom had issued their

opinions before Andrews The court’s decision in Andrews also did not have the benefit of the

Court of Appeals for the Fourth Circuit’s more specific analysis in McCoy reasoning the section

924(c) amendment is part of the equation in determining whether the petitioner demonstrated an

extraordinary and compelling reason for compassionate release. This substantial weight of

uniform persuasive authority is before our Court of Appeals.

       Mr. Harris is not the ordinary case. We impose strict home confinement conditions

during the first year of his supervised release to ensure he remains in our District and our

experienced Probation Officers can closely monitor him. We cannot agree a stay leaving him in

prison is just while he awaits a decision from our Court of Appeals in another incarcerated

person’s case. Sentencing decisions are individual; what is appropriate for Mr. Andrews in his

case is not automatically appropriate for Mr. Harris. Mr. Andrews’s legal issues on appeal

appear to involve a binary analysis which, four Courts of Appeals and several of our colleagues

have found not warranted. We understand judges in other Circuits take a different view on

distinct facts. We agree with Andrews in part but do not reach the same result given the

individualized nature of Mr. Harris’s present status. Leaving Mr. Harris in prison for longer than

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warranted by the circumstances is not, in our view, more consistent with sentencing policy than

releasing him to his family in our District where our officers can closely supervise him.

Spending one more day than necessary in jail for purposes of convenience is not consistent with

the interests of justice under the facts presented today.

III.      Conclusion

          Mr. Harris demonstrates multiple extraordinary and compelling reasons for his

compassionate release, including his extraordinary rehabilitation and personal growth while

incarcerated combined with his having served a sentence far beyond our country’s sentencing

policy as Congress defined over two years ago. We cannot ignore the flexibility in reducing

sentences in these circumstances as Congress addressed in 1984 with renewed vitality in the

2018 First Step Act. Mr. Harris satisfies our scrutiny under section 3553, and he does not pose a

danger to the community by release to home confinement to start the next phase of his sentence

through supervised release in this District working and restoring his post-incarceration life.




1
    February 11, 2001 Presentence Investigation Report, (PSR) ¶ 55.
2
    Id. ¶ 54.
3
    Id. ¶ 63.
4
    Id. ¶¶ 64-65.
5
    Id. ¶ 62.
6
    Id. ¶¶ 9-12, 45.
7
    Id. ¶¶ 10, 12.
8
    ECF Doc. No. 1.
9
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10
     ECF Doc. No. 43.
11
     June 26, 1998 Judgment, United States v. Gordon, No. 97-179-1 (E.D. Pa.), Dkt. No. 20.
12
     ECF Doc. No. 43 at 9:4-24.
13
     Id. at 3-5; Presentence Investigation Report, ¶¶ 47-50.
14
  ECF Doc. No. 43 at 4:4-5; September 9, 1998 Judgment, Cmmw. v. Harris, CP-51-CR-
02000371-1997 (Pa. C.P. Philadelphia Cty), Dkt. No. 9639067394.
15
     ECF Doc. No. 43 at 11:8-10.
16
     See First Step Act of 2018, Pub. L. 115-391, 132 Stat. 5222, § 403.
17
     ECF Doc. No. 67 at 14.
18
     ECF Doc. No. 85 at 3.
19
     ECF Doc. No. 67 at 19.
20
     Id.
21
     Id. at 14.
22
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23
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24
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37
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38
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39
     Id.
40
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41
     ECF Doc. No. 85.
42
     Id. at 6-13.
43
     Id. at 7.
44
     Id. at 12-13.
45
     18 U.S.C. § 3582.


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46
  See, e.g., United States v. Slone, No. 16-400, 2020 WL 3542196, at *8-9 (E.D. Pa. June 30,
2020).
47
     28 U.S.C. § 994(t).
48
     U.S.S.G. § 1B1.13 cmt. n.1(A)-(D).
49
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50
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54
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55
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56
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57
   United States v. Jones, No. 20-3701, 2020 WL 6817488, at *7 (6th Cir. Nov. 20, 2020)
(finding the Sentencing Commission’s policy statement, specifically the catchall provision, does
not apply to cases where an incarcerated person moves for compassionate release); United States
v. Gunn, No. 20-1959, 2020 WL 6813995, at *2 (7th Cir. Nov. 20, 2020) (same); United States v.
McCoy, 981 F.3d 271, 280-83 (4th Cir. 2020) (same).
58
     ECF Doc. No. 67 at 11.
59
   The Centers for Disease Control tells us Mr. Harris’s body mass index of 28.9 falls short of
being within the “obese” range because a body mass index between 25.0 and 30.0 falls within the
“overweight” range, while a body mass index of 30.0 or higher is considered “obese.” Centers
for      Disease      Control,     Defining       Adult       Overweight      and      Obesity,
https://www.cdc.gov/obesity/adult/defining.html (last visited Dec. 30, 2020).
60
     United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).
61
   United States v. Moldover, No. 14-637, 2020 WL 6731111, at *7 (E.D. Pa. Nov. 13, 2020)
(citations and quotations omitted).
62
     No. 15-471-3, 2020 WL 4756743, at *5 (E.D. Pa. Aug. 17, 2020).
63
     Id.


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64
  United States v. Calloway, Nos. 12-00540, 12-00358, 2020 WL 7480295, at *2 (E.D. Pa. Dec.
18, 2020).
65
     See ECF Doc. No. 79.
66
   See, e.g., United States v. Buckman, No. 14-540, 2020 WL 4201509, *3-4 (E.D. Pa. July 22,
2020) (finding forty-one-year-old petitioner failed to demonstrate extraordinary and compelling
reasons for release because she did not suffer from serious medical condition placing her at a
high risk for serious complications from COVID-19); United States v. Cornish, No. 17-208-2,
2020 WL 6870575, at *1-2 (E.D. Pa. Nov. 23, 2020) (denying epileptic petitioner’s motion for
compassionate release because he failed to show an increased risk of severe illness due to
COVID-19).
67
     See First Step Act of 2018, Pub. L. 115-391, 132 Stat. 5222, § 403.
68
   United States v. Wilson, 960 F.3d 136, 151 (3d Cir. 2020) (citing United States v. Hodge, 948
F.3d 160, 162-64 (3d Cir. 2020)).
69
   See, e.g., United States v. Andrews, No. 05-280-02, 2020 WL 4812626, at *6-7 (E.D. Pa.
Sept. 4, 2020) (“The length of the sentence cannot be an extraordinary and compelling reason to
grant compassionate release because this would infringe on the legislature’s province to fix
penalties.”); United States v. Thacker, No. 03-20004, 2020 WL 5960685, at *2-4 (C.D. Ill. Oct.
8, 2020) (declining to consider the amendment to section 924(c) as a basis for compassionate
release “[b]ecause Congress has indicated that the relevant statute is not retroactive and because
the compassionate relief guidelines focus on individualized health and family circumstances”).
70
  See, e.g., United States v. Scott, No. 95-202-2, 2020 WL 2467425, at *2-3 (D. Md. May 13,
2020) (“The fact [petitioner], if sentenced today for the same conduct, would likely receive a
dramatically lower sentence than the one he is currently serving, constitutes an ‘extraordinary
and compelling’ reason justifying potential sentence reduction under § 3582(c)(1)(A)(i).”);
United States v. Arey, 461 F. Supp. 3d 343, 349-50 (W.D. Va. 2020) (“[P]ursuant to its
independent discretion, the court finds that [petitioner]’s continued incarceration under a
sentencing scheme that has since been substantially amended is a permissible ‘extraordinary and
compelling’ reason to consider a reduction in [petitioner]’s sentence.”).
71
     470 F. Supp. 3d at 518-25.
72
     Id. at 522.
73
     Id.
74
     Id. at 524.
75
     Id. at 525-29.
76
     Id. at 527.

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77
     Id. at 528.
78
     No. 10-633-1, 2020 WL 4674126, at *6-7 (E.D. Pa. Aug. 12, 2020).
79
  Id. at *6 (citing United States v. Maumau, No. 08-758-11, 2020 WL 806121, at *6 (D. Utah
Feb. 18, 2020) (citing S. Rep. No. 98-225, at 55-56 (1984))). The sentencing judge in Pollard
sentenced petitioner to 180 months due to a significant departure for cooperation. Id.
80
     Id. (citing Maumau, 2020 WL 806121, at *7).
81
     Id. (citing Maumau, 2020 WL 806121, at *6) (citing S. Rep. No. 98-225, at 55-56 (1984))).
82
     Id. at *7.
83
     Id.
84
     Id.
85
     United States v. Clausen, No. 00-291-2, 2020 WL 4260795, at *7-8 (E.D. Pa. July 24, 2020).
86
  Id. at *7 (collecting district court cases concluding extraordinary and compelling reasons for
compassionate release existed based on a combination of petitioner’s rehabilitation and the
change in sentencing under section 924(c)).
87
     981 F.3d at 285-88.
88
     Id. at 286.
89
     Id. at 286-87 (citations and quotations omitted).
90
     No. 94-20079-1, 2020 WL 5359636, at *6-8 (N.D. Cal. Aug. 27, 2020).
91
     Id. at *8 (citations and quotations omitted).
92
     Id.
93
     Id. at *10.
94
     2020 WL 4812626, at *5-15.
95
     Id. at *3-6.
96
     Id. at *7.
97
     2020 WL 4674126, at *6.


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98
     Id. (citing S. Rep. No. 98-225, at 55-56 (1984)).
99
  The Director of the Bureau of Prisons’ Program Statement 5050.50 similarly identifies “length
of sentence and amount of time served” as a factor to consider in all requests for sentence
reductions. Federal Bureau of Prisons, Program Statement 5050.50, Jan. 17, 2019, at 12 (last
visited Dec. 4, 2020) (Listing nine factors: The nature and circumstances of the defendant’s
offense, his criminal history, comments from victims, unresolved detainers, supervised release
violations, institutional adjustment, disciplinary infractions, personal history derived from the
presentence investigation report, length of sentence and amount of time served, current age and
age at the time of offense and sentencing, release plans, and “[w]hether release would minimize
the severity of the offense.”)).
100
      Andrews, 2020 WL 4812626, at *7-10.
101
   See 18 U.S.C. § 3553(a); see also Gall v. United States, 522 U.S. 38, 52 (2007) (“It has been
uniform and constant in the federal judicial tradition for the sentencing judge to consider every
convicted person as an individual and every case as a unique study in the human failings that
sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.”) (citations and
quotations omitted).

Mr. Andrews and Mr. Harris present very different sets of circumstances. Judge Robreno notes,
for example, Mr. Andrews would still effectively face a life sentence if sentenced today (unlike
Mr. Harris, who would have already been released if sentenced today), because his conviction
included thirteen section 924(c) counts. Andrews, 2020 WL 4812626, at *2.
102
   See United States v. Quinn, 467 F. Supp. 3d 824, 829 (N.D. Cal. June 17, 2020) (stating “[t]he
[First Step] Act’s broader purpose is . . . consistent with allowing courts to consider such gross
sentencing disparities, rather than forcing judges to interpret lack of retroactivity as a complete
bar to relief based on subsequent changes to sentencing”).
103
   We are mindful this opinion is not shared by all district court judges and this issue is pending
in Courts of Appeal, including in our Circuit. See, e.g., Andrews, 2020 WL 4812626, appeal
docketed, No. 20-2768 (3d Cir. Sept. 4, 2020); United States v. Thacker, No. 03-20004, 2020
WL 5960685 (C.D. Ill. Oct. 8, 2020), appeal docketed, No. 20-2943 (7th Cir. Oct. 8, 2020);
United States v. Rucker, No. 04-20150, 2020 WL 4365544 (D. Kan. July 30, 2020), appeal
docketed, No. 20-3164 (10th Cir. Aug. 13, 2020).
104
      5 U.S.S.G. § 1B1.13 cmt. n.1(D).
105
   U.S. Department of Justice, Federal Bureau of Prisons, Program Statement 5050.50, Jan. 17,
2019, at 12 (last visited Dec. 28, 2020), https://www.bop.gov/policy/progstat/5050_050_EN.pdf;
see also Adeyemi, 470 F. Supp. 3d at 525-29.
106
      Program Statement 5050.50, at 1-12.
107
      Id. at 12.

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108
      United States v. Saldana, 807 F. App’x 816, 819 (10th Cir. 2020).
109
      Program Statement 5050.50, at 12.
110
      Id.
111
    See, e.g., United States v. Marks, 455 F. Supp. 3d 17, 32-35 (W.D.N.Y. 2020); United States
v. Defendants, No. 99-257, 2020 WL 1864906, at *5-6 (C.D. Cal. Apr. 13, 2020); United States
v. Decator, 452 F. Supp. 3d 320, 323-25 (D. Md. 2020).
112
      United States v. Redrick, No. 99-437, 2020 WL 6799253, at *3 (E.D. Pa. Nov. 19, 2020).
113
   Centers for Disease Control, Obesity, Race/Ethnicity, and COVID-19 (last updated Dec. 16,
2020), https://www.cdc.gov/obesity/data/obesity-and-covid-19.html.
114
     Mr. Harris’s increased body mass index – definitively impacting his risk of severe illness
from COVID-19 – and the prevalence of COVID-19 in FCI Fort Dix (including in his unit)
distinguishes his claim from United States v. Crandall, cited in the United States’ briefing. No.
89-21, 2020 WL 7080309, at *4-5 (N.D. Iowa Dec. 3, 2020). In denying compassionate release
in Crandall, Judge Williams noted petitioner – a career offender – suffered from chronic neck
pain, chronic arm pain, cervical stenosis, and hip arthritis, which “are simply not relevant to
COVID-19.” Id. He further pointed out petitioner’s prison had no active COVID-19 cases among
its inmate population. Id. at *5.
115
      470 F. Supp. 3d at 528.
116
   Andrews, 2020 WL 4812626 at *13 (finding young age at time of the offenses weighed in
favor of granting compassionate release).
117
    See United States Sentencing Commission, Recidivism Among Federal Offenders: A
Comprehensive Overview (March 2016), https://www.ussc.gov/sites/default/files/pdf/research-
and-publications/research-publications/2016/recidivism_overview.pdf.
118
      Adeyemi, 470 F. Supp. 3d at 529.
119
      18 U.S.C. § 3553(a).
120
      Pepper v. United States, 562 U.S. 476, 491 (2011).
121
      2020 WL 6799253, at *3-4.
122
      No. 95-72, 2020 WL 3058093, at *3 (S.D. Cal. June 8, 2020).
123
      Id.
124
      461 F. Supp. 3d 899, 905-906 (E.D. Mo. 2020).

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125
      Id.
126
   United States Sentencing Commission, The Effects of Aging on Recidivism Among Federal
Offenders        (Dec.        2017),       https://www.ussc.gov/sites/default/files/pdf/research-and-
publications/research-publications/2017/20171207_Recidivism-Age.pdf             (concluding      after
conducting a study on federal offenders across various age groups that “older offenders are
substantially less likely to recidivate following release compared to younger cohorts” and “as age
increases recidivism by any measure declined”).
127
      See Pepper, 562 U.S. at 492.
128
      463 F. Supp. 3d 585, 602 (W.D. Pa. 2020) (citations and quotations omitted).
129
    See United States v. Clausen, No. 00-291-2, 2020 WL 4601247, at *2 (E.D. Pa. Aug. 10,
2020) (finding over twenty years in prison for nine armed robberies to be a “substantial
punishment that reflects the seriousness of his offenses and the need for both general and specific
deterrence”); United States v. Redd, 444 F. Supp. 3d 717, 727-28 (E.D. Va. 2020) (finding the
“very substantial punishment” of a twenty-three-year sentence for three armed robberies
reflected the seriousness of the offenses and the need for deterrence “by any measure”).

Mr. Harris’s case is distinguishable from recent decisions denying compassionate release where
petitioner did not serve a significant portion of his sentence. See United States v. Wilson, No. 19-
122-2, 19-123-1, 2020 WL 7640940, at *3 (E.D. Pa. Dec. 23, 2020) (denying compassionate
release where petitioner served only nineteen months of his seventy-eight-month sentence);
United States v. Fields, Nos. 06-155-3, 06-490-2, 2020 WL 7640941, at *3 (E.D. Pa. Dec. 23,
2020) (denying compassionate release where petitioner served “just over half of a 300-month-
sentence because granting him release would undermine the need for the sentence to reflect the
seriousness of the crimes).
130
      See United States v. Haynes, 456 F. Supp. 496, 502 (E.D.N.Y. 2020).
131
    2020 WL 4674126, at *11; see also United States v. Quinn, 467 F. Supp. 3d 824, 831 (N.D.
Cal. 2020) (concluding section 3553(a) factors weighed in favor of release of a petitioner with
stacked sentences because to find otherwise “would be to sanction the very sort of ‘unwarranted
sentence disparities’ for similar conduct that Congress tasked the courts with avoiding”).
132
   U.S. v. Clausen, No. 00-291-2, 2020 WL 4260795, at *8 (E.D. Pa. July 24, 2020) (citing
United States v. Rodriguez, 451 F. Supp. 3d 392, 406 (E.D. Pa. 2020) (quoting U.S.S.G.
§ 1B1.13(2))).
133
      Id. (citing 18 U.S.C. § 3142(g)(1)–(4)).
134
      No. 17-58-1, 2020 WL 5237272, at *5-6 (E.D Pa. Sept. 1, 2020).
135
      Id. at *6.


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136
      United States v. Quinn, 467 F. Supp.3d 824, 831 (N.D. Cal. 2020).
137
      Id.




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